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                                                                                                  E-FILED
                                                                    Monday, 14 July, 2014 10:20:20 AM
                                                                        Clerk, U.S. District Court, ILCD

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS
                                    CHAMPAIGN, ILLINOIS

DAVID C. HILL,                      )
                                    )
           Plaintiff,               )
                                    )
                                    )
vs.                                 )                        Case   14-2170
                                    )
MARK MASSE, CARLE THERAPY SERVICES, )
and CARLE HEALTHCARE, INC.          )
                                    )
           Defendants,              )

                                          COMPLAINT

                                           I. PARTIES

        NOW COMES the Plaintiff, DAVID C. HILL, by and through WILLIAM R. TAPELLA,

of TAPELLA & EBERSPACHER LLC, his attorneys, and for his complaint against the

Defendants, MARK MASSE, and CARLE FOUNDATION HOSPITAL, states:

        1.      The Plaintiff, DAVID C. HILL, resides in Crofton, Christian County, Kentucky

and is a citizen of Kentucky and the United States of America.

        2.      MARK MASSE is a physical therapist and licensed to practice physical therapy

by the State of Illinois.

        3.      At all times relevant to the issues raised in this complaint, MARK MASSE

practiced physical therapy in Charleston, Coles County, Illinois, as the actual and/or apparent

agent of CARLE FOUNDATION HOSPITAL.

        4.      At all times relevant to the issues raised in this complaint, CARLE

FOUNDATION HOSPITAL operated as an Illinois Not-For-Profit Corporation engaged in the



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business of providing healthcare services, including physical therapy services, in central Illinois,

with its principal place of business in Urbana, Champaign County, Illinois.

                                   II.     JURISDICTION

       5.      The jurisdiction of this Court is predicated upon diversity of citizenship

jurisdiction pursuant to 28 U.S.C. §1332(a)(1).

       6.      The matter in controversy exclusive of interest and cost, exceeds the sum

specified by 28 U.S.C. §1332, Seventy-Five Thousand Dollars ($75,000.00).


                                         III.   VENUE

       7.      Pursuant to 28 U.S.C. §1391(b), venue for this action is proper in the United

States District Court for the Central District of Illinois, in that Defendant, CARLE

FOUNDATION HOSPITAL is in Champaign County, Illinois, the Defendant, MARK MASSE,

resides in Coles County, Illinois, and the acts or omissions giving rise to this claim occurred in

Coles County, Illinois.

                             IV.     COUNT I vs. MARK MASSE

       8.      The Plaintiff first presented to MARK MASSE, for care and treatment on or about

March 10, 2008, for the purpose of rehabilitating the Plaintiff’s left shoulder following left

rotator cuff repair surgery. The Defendant, MARK MASSE, continued to provide care and

treatment for the Plaintiff’s left shoulder through July 29, 2008.

       9.      At all times relevant to the issues raised in this complaint, MARK MASSE held

himself out and impliedly represented that he possessed and would apply the knowledge and use

the skill and care ordinarily used by a reasonably, well qualified physical therapist.




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       10.     Notwithstanding the implied representation of the Defendant, MARK MASSE, as

aforesaid, on and prior to July 29, 2008, the Defendant committed one, or more, or a

combination of the following negligent acts or omissions, to wit:

               A.      Engaged the Plaintiff in physical therapies that were not appropriate to the

                       Plaintiff’s condition;

               B.      On or about May 29, 2008, changed the therapies to be performed during

                       physical therapy to include progressive resistance exercise, or weight

                       training, and did so without first working progressively with the Plaintiff,

                       from no weight or lighter weights to heavy weights;

               C.      On or about July 3, 2008, initiated box lift exercise which were

                       inappropriate to the Plaintiff’s condition, or, in the alternative, instituted

                       box lift exercises at weights that were greater than appropriate for the

                       Plaintiff’s condition; and

               D.      After recognizing that the Plaintiff was “challenged by current

                       progression” and that the Plaintiff “continued to have some weakness in

                       his left shoulder” and the Plaintiff experienced soreness and weakness in

                       the left shoulder, as a result of the exercises and weights used in therapy,

                       the Defendant failed to withdraw exercises and lifting from the Plaintiff’s

                       physical therapy regimen.

       11.     As a direct and proximate result of one or more, or a combination of the negligent

and careless acts or omissions of the Defendant, MARK MASSE, as aforesaid, the Plaintiff,

DAVID C. HILL, on or about July 14, 2008, or in the alternative on or about July 16, 2008,

suffered a tear to the rotator cuff in the Plaintiff’s left shoulder. Despite injury on or about July

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14, 2008, or in the alternative on or about July 16, 2008, Defendant, MARK MASSE, continued

to engage in physical therapy inappropriate for Plaintiff’s condition through July 29, 2008.

        12.    As a direct and proximate result of the tear in the Plaintiff’s left rotator cuff,

caused by the Defendant’s negligence, the Plaintiff has suffered great pain and mental anguish,

has been unable to return to work and has lost wages and will in the future continue to lose

wages, has incurred significant medical bills and will in the future continue to incur significant

medical bills, has been unable to engage in his activities or normal life and remains unable to

engage in activities in normal life.

        WHEREFORE, the Plaintiff, DAVID C. HILL, prays that this Court enter a judgment in

his favor and against the Defendant, MARK MASSE, as follows:

               A.      Compensatory damages in an amount in excess of Seventy-Five Thousand

                       Dollars ($75,000.00); and

               B.      For such other relief as this Court deems just and appropriate.



                V.      COUNT II vs.        CARLE FOUNDATION HOSPITAL

        NOW COMES the Plaintiff, DAVID C. HILL, by WILLIAM R. TAPELLA, by

TAPELLA & EBERSPACHER LLC, his attorneys, and for Count II of his complaint against the

Defendant, CARLE FOUNDATION HOSPITAL, states:

        13.    The Plaintiff first presented to CARLE FOUNDATION HOSPITAL, for physical

therapy on or about March 10, 2008, for the purpose of rehabilitating the Plaintiff’s left shoulder

following left rotator cuff repair surgery. The Defendant, CARLE FOUNDATION HOSPITAL,

continued to provide physical therapy services for the Plaintiff’s left shoulder through July 29,

2008.

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       14.     At all times relevant to the issue raised in this complaint, the Defendant, CARLE

FOUNDATION HOSPITAL, held out and impliedly represented that MARK MASSE possessed

and would apply the knowledge and use the skill and care ordinarily used by a reasonably, well

qualified physical therapist.

       15.     Notwithstanding the implied representations of the Defendant, CARLE

FOUNDATION HOSPITAL, the Defendant, by and through its actual and apparent agent,

MARK MASSE, acting within the scope of this employment, committed one, or more, or a

combination of the following negligent acts or omission, to wit:

               a.      Engaged the Plaintiff in physical therapies that were not appropriate to the

                       Plaintiff’s condition;

               b.      On or about May 29, 2008, changed the therapies to be performed during

                       physical therapy to include progressive resistance exercise, or weight

                       training, and did so without first working progressively with the Plaintiff,

                       from no weight or lighter weights to heavy weights;

               c.      On or about July 3, 2008, initiated box lift exercise which were

                       inappropriate to the Plaintiff’s condition, or, in the alternative, instituted

                       box lift exercises at weights that were greater than appropriate for the

                       Plaintiff’s condition; and

               d.      After recognizing that the Plaintiff was “challenged by current

                       progression” and that the Plaintiff “continued to have some weakness in

                       his left shoulder” and that the Plaintiff experienced soreness and weakness

                       in the left shoulder, as a result of the exercises and weights used in



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                       therapy, the Defendant failed to withdraw exercise and lifting from the

                       Plaintiff’s physical therapy regimen.

       16.     As a direct and proximate result of one or more, or a combination of the negligent

and careless acts or omissions of the Defendant, CARLE FOUNDATION HOSPITAL, acting by

and through its actual and or apparent agent, MARK MASSE, who was acting within the scope

of his employment, the Plaintiff, DAVID C. HILL, suffered a tear to the rotator cuff in the

Plaintiff’s left shoulder on or about July 14, 2008, or in the alternative on or about July 16, 2008.

Despite injury on or about July 14, 2008, or in the alternative or on or about July 16, 2008.

Defendant, MARK MASSE, continued to engage in physical therapy inappropriate for Plaintiff’s

condition through July 29, 2008.

       17.     As a direct and proximate result of the tear in the Plaintiff’s left rotator cuff,

caused by the defendant’s negligence, the Plaintiff has suffered great pain and mental anguish,

has been unable to return to work and has lost wages and will in the future continue to lose

wages, has incurred significant medical bills and will in the future continue to incur significant

medical bills, has been unable to engage in his activities of normal life and remain unable to

engage in activities in normal life.

       WHEREFORE, the Plaintiff, DAVID C. HILL, prays that this Court enter a judgment in

his favor and against the Defendant, CARLE FOUNDATION HOSPITAL, as follows:



               A.      Compensatory damages in an amount in excess of Seventy-Five Thousand

                       Dollars ($75,000.00); and

               B.      For such other relief as this Court deems just and appropriate.



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DATED this 14th day of July 2014.

                                         DAVID C. HILL, Plaintiff



                                         s/William R. Tapella
                                         William R. Tapella Bar Number: 6220468
                                         Attorney for Plaintiff
                                         Tapella & Eberspacher LLC
                                         P.O. Box 627
                                         Mattoon, IL 61938-0627
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                                         bw.7.14.14 #5-3096.0000




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                             IN TH E U ITED STATES DISTRICT COURT
                             FOR THE CENTRAL DISTRICT OF ILLINOIS
                                      CHAMPAIGN. ILLINOIS

DAV ID C. HILL.                                            )
                                                           )
                Plaintiff,                                 )
                                                           )
                                                           )
vs.                                                        )    Case
                                                           )
MARK MASSE, CARLE THERAPY SERVICES, )
and CARLE HEAL THCARE, INC.         )
                                                           )
                Defendants,                                )

                                             AFFIDAVIT

STATE OF ILLINOIS                )
                                 ) SS.
COUNTY OF COLES                  )

        1.      I. WILLIAM R. TAP ELLA, being first dul y sworn. deposes and says that I am an

attorney licensed to practice in the State of Illinois.

        2.      I have been employed by Plaintiff, DAV ID C. HILL.

        3.      I have submitted the medical records and other relevant materials concerning care

and treatment provided to DAVID C. HILL by the Defendants in thi s matter to a physician

licensed by the State of Illinois and to a physica l therapist licensed by the States ofMissouri and

Kansas to practice physical therapy. The physician and physical therapi st who reviewed the

medical records and other relevant materi als practiced and continue to practice in the area of

med icine and ph ysical therapy that is at issue.

        4.      The Affiant, believes that the physician and physical therap ist are qualified by

training. and ex perience in the subj ect matter presented in thi s case.


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        5.       The Affiant has received letters from the physical therapi st wherein the physical

therapist has stated that the Defendant. MARK MAS SE deviated fro m the appropriate standard

of care in his treatme nt of DAVID C. HILL and where the physician has stated that DAVID C.

HILL suffered injuries as a result o f the Defendanf s deviation. Both have opined that there is a

reasonable and meritorio us cause fo r fi ling a medi cal malpractice actio n aga inst the Defendant.

        6.       Based upon my review of the letters prepared by the reviewing healthcare

profess ionals, I am of the opinion that there is a reasonable and meritori ous claim to be brought

against the Defe ndants.

        7.       A copy of the letters received by this Affi ant is attached hereto as "Exhibi t A and

Exhibit B." F URTHER AFFIANT SA YETI-I NOT.

                            111
        DAT ED this 14 day of July 2014.

                                                DAVID C. HILL, P laintiff




                                                s/W illiam R. Tapel la
                                                W illiam R. Tapella Bar N umber: 6220468
                                                Attorney fo r P laintiff
                                                Tapella & Eberspacher LLC
                                                P.O. Box 627
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           OFFICIAL SEAL
       BONNADELLE WILLOUGHBY
      NOTARY PUBLIC • STATE OF ILLINOIS           -2 -
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 DANIEL S. LORENZ, DPT, PT, A TCIL, CSCS, USA W
                               Expert Legal Witness
                              Experts in Therapy, LLC


July 26, 2010



Mr. William R. Tapella
Hefuer, Eberspacher & Tapella, LLC
P.O. Box 627
Mattoon, IL 6 1938-0627

Re:    Your client: David C. Hill
       Your File: 5-3096.0000

Dear Mr. Tapella,

By way of background, I am a physical therapist licensed by the States of Missouri and
Kansas. I have a Bachelor's degree in Health Sciences with an emphasis in Athletic
Training from Grand Valley State University and a Masters of Science in Physical
Therapy from that same University. I am a Doctor of Physical Therapy w ith a OPT from
the Un iversity of St. Augustine with an emphasis in manual therapy. I completed a
Fellowship at Duke Univers ity Sport Physical Therapy. I am well familiar w ith the
standard of care that applies to physical therapists, including physical therapy for the
rehabilitation of a patient following rotator cuff surgery.

At yo ur request, I have completed a review of medical records provided to me for David
Hill. Specifically, I have reviewed medical records from Carle C linic Association, Carle
Foundation Hospital, and Carle Therapy Services. With regards to the Carle Therapy
records, those records included treatment of David Hill from March 2008 through July
2008. Based upon my review of those medical records, David underwent surgery to
repair a tom left rotator cuff on February 15, 2008. Following that surgery, Dr. Robert
Gurtler referred Mr. Hill for physical therapy to Carle Therapy Services, where he came
under the care of Mark Masse, PT, MHS. Mr. Hill started physical therapy on March 3,
2008, and continued in physical therapy through July 29, 2008.

Under the standard of care for a reasonably careful physical therapist, Mr. Masse had an
obligation to take specific note of this patient's condition at the initiation of physical
therapy. Of particular concern, Mr. Masse noted that Dr. Gurtler had identified the rotator
cufftear as a "large tear, poor quality tissue." The presence of a large tear, especially
with poor quality tissue, requires the physical therapist to take every possible precaution
in a slow pro&'l'ession of physical therapy to address the rehabilitation of this patient's
should er. Initially, Mr. Masse did a reasonable job of providing that slow progression in

                                                                                        EXHIBIT

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Mr. Hill's care. Additionally, it is anticipated that a patient will have some degree of
fatigue and weakness as they progress through a rehabilitation program. However, on
May 27, 2008, in his assessment, Mr. Masse noted "client's strength program is
progressing. Still have fatigue with repeated reps against gravity, he has full AROM
[active range of motion], needs to be able to list [lift] 50 pounds to RTW [return to
work]." Mr. Hill returned to Mr. Masse for physical therapy on May 29, 2008. Despite
his acknowledgment of fatigue in the arm with repeated lifting against
gravity, Mr. Masse failed to modify Mr. Hill's rehabilitation program. His decision to
continue despite documented fatigue, with the same resistance training regimen (bicep
hoist 50#, mid row 50#, standing tricep ext 60#, and 20 repetitions for several exercises)
constituted a deviation from the standard of care for a reasonably careful physical
therapist.

In addition to the above exercises, Mr. Masse added an additional
exercise on July 14, 2008. On that date, Mr. Masse required Mr. Hill to perform a box
lift. In that exercise, Mr. Masse required Mr. Hill to lift the box weighted at 35 pounds
and 45 pounds to shoulder height. In that exercise, Mr. Hill was required to lift the box
from the floor and raise the box to shoulder level. Open kinetic chain functional
activities such as box lifting place a significant strain on the shoulder joint, especially the
rotator cuff muscles. As with some other exercises, Mr. Masse failed to start Mr. Hill at
light weights and progress to heavier weights. While Mr. Hill needed to be able to lift 50
pounds for his job, it was inappropriate to begin at 35 and 45 pounds. His decision to
initiate box lift exercises at the substantial weights prescribed by Mr. Masse without
appropriate prior progression with lighter weight constituted a deviation from the
standard of care.

Following the initiation of progressive resistance training on May 29, 2008, Mr. Masse
continued that training throughout the duration of Mr. Hill's care, despite subsequent
subjective reports of fatigue, pain, and tingling. Mr. Masse noted throughout his record
that the exercises were causing significant fatigue. See note on June 12, 2008, June 16,
2008 (specific external rotator weakness), June 19, 2008, July 9, 2008 (continue to notice
weakness in left arm and fatigue with activity). Of particular concern, on July 16, the first
visit after the start of the box lift exercise, and thereafter, Mr. Masse notes continued pain
and tingling in the left arm. With his previous notations concerning fatigue and
weakness, particularly the notes beginning on July 16, 2008, concerning pain and
tingling, the standard of care for a reasonably careful physical therapist required Mr.
Masse to rethink his physical therapy for this patient. The standard of care would direct
the physical therapist to have moved back to lighter weights, no weight at all, or
strengthening in gravity-eliminated positions. His failure to rethink the physical therapy
for tills patient by continuing to perform resistance exercises as prescribed by Mr. Masse
constituted a deviation from the standard of care, given that the patient had pain, fatigue,
and tingling.

As a physical therapist, I am well familiar, and well trained, and competent to testify as to
the relationship of specific exercises to the muscles in the human body, including
shoulder muscles. It is my opinion to a reasonable degree of professional certainty that
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the progression of resistance exercises in this case, especially the box lift exercise
initiated July 14, 2008, wo uld place a great deal of strain upon the patient's rotator cuff.
It is further my opinion that the initiation of such and exercise at such heavy weights,
coupled with the continuation of other listed resistance exercises over a period of time,
despite continued reports of fatigue and weakness, would have exerted strain upon the
muscles in Mr. Hill 's rotator cuff, which could contribute to a tear. Based upon my
review of the medical records, my education, training and experience as a physical
therapist, I believe that there is a reasonable and meritorious cause of action against Mr.
Masse arising from his care and treatment ofMr. Hill.

Thank you for the opportunity to have participated in this matter. I am available to testify
at deposition and trial should such testimony be necessary in this matter. I reserve the
right to change my opinions in the event that I receive new or additional information.

Very truly yours,

  ~_j0
Daniel S. Lorenz, OPT, PT, ATC/L, CSCS, USA W
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            OCCUPATIONAL MEDICINE ASSOCIATES OF CHICAGO, LTD.
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JEFFREY COE, M.D., PH.D.                                                  CORRADO UGOLINI, M.D., M.P.H.
 Board Certified Occupational Medicine                                           Board Cert ified Internal Medicine
 Medical Director, Occupational Medicine Associates of Chicago
                                                                          DAVID ROBERTSON, M.D.
                                                                                 Board Certified Orthopedic Surgery



        Mr. Paul A. Marks                                        July 10, 2012
        Attorney at Law
        Hefner, Eberspacher & Tepella, LLC
        PO Box 627
        Mattoon, IL 61938-0627

                                                                 RE:    David Hill


        Dear Mr. Marks:

                At your request, on July I 0, 2012, I examined your client, Mr. David Hill. I
        also reviewed a number of Mr. Hill 's treatment medical records. The medical records
        that I reviewed were of a type customarily relied upon by physicians.


        HISTORY:

               Mr. David Hill is a 56-year-old male. Mr. Hill states that he noted the gradual
        onset of left shoulder pain over a number of years. He reported that he initially
        injured his left shoulder years earlier and had experienced some left shoulder
        discomfort made worse by his work activities as a utility relief worker for RR
        Donnelly in Mattoon, Illinois. Mr. Hill states that his left shoulder symptoms became
        increasingly severe in 2007, as cuts in staff Jed to increased demand for heavy lifting,
        pulling and pushing.

               Because of ongoing symptoms, Mr. Hill sought medical treatment for left
        shoulder pain. A left shoulder MR1 scan was prescribed and was performed on
        October 31, 2007. The scan was interpreted as showing a large "defect" in the distal
        supraspinatus at the site of the insertion of this tendon onto the greater tuberosity of
        the humerus. The defect was consistent with a large, full thickness left rotator cuff
        (supraspinatus) tear. The MRI scan also revealed subscapularis tendinopathy and
        moderate degenerative change of the glenohumeral and acromioclavicular joints of
        Mr. Hill 's left shoulder.
                                                                                         EXHIBIT

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Page Two                          RE: David Hill                          July 10, 2012



        On December 6, 2007, Mr. Hill was examined by an orthopaedic specialist,
Dr. Gurtler. He gave a history of severe left shoulder symptoms with anterior and
superior left shoulder pain and left shoulder stiffness. Mr. Hill reported that his left
shoulder symptoms had begun approximately 15 years earlier and that his left
shoulder had then "bothered him." Dr. Gurtler's examination found decreased left
shoulder range of motion with pain and weakness. Dr. Gurtler reviewed the left
shoulder MRI scan, interpreting this test as showing a large left shoulder rotator cuff
tear with left shoulder degenerative change. Dr. Gurtler prescribed left shoulder open
rotator cuff repair surgery.

       Mr. Hill underwent surgery to his left shoulder performed by Dr. Gurtler on
February 15, 2008, at the Carle SurgiCenter. According to records reviewed, at
operation, Dr. Gurtler observed full thickness tearing of the supraspinatus with some
tendon retraction and degenerative change at the acromioclavicular joint. Exploration
found Mr. Hill's glenoid labra and biceps tendon to be intact. Dr. Gurtler performed
open left shoulder rotator cuff repair and acromioplasty. Dr. Gurtler described Mr.
Hill's rotator cuff"tissue" to be of moderate to poor quality. The rotator cuff repair
was completed without complication. Sterile dressings were then applied to Mr.
Hill's left shoulder, his left arm was immobilized and he was given medication for
pain.

        On December 28, 2008, Mr. Hill returned to Dr. Gurtler. At that time, he was
described as " doing pretty well." Dr. Gurtler discussed the operative findings
including a large rotator cuff tear. Dr. Gurtler expressed concern due to the size of
the rotator cuff tear and the nature of Mr. Hill's rotator cuff "tissue". He specifically
stated that, in view of these factors observed during the surgery, Mr. Hill would have
to "go pretty slow" in rehabilitation. Dr. Gurtler recommended two weeks of rest
prior to beginning a "passive range of motion" program, passive range of motion for
six weeks followed by an active, assisted motion program.

        Mr. Hill was evaluated for physical therapy at the Carle Clinic on March 10,
2008. He was found to be improving at that time in the shoulder immobilizer. Mr.
Hill reported only occasional shoulder pain. Physical therapy assessment found
flexion and abduction with assistance to 70 degrees with little discomfort. Physical
therapy was begun with passive range of motion exercises and instruction in home
pendulum exercise. Mr. Hill was advised to avoid any lifting with his left arm.
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Page Three                        RE : David Hill                         July 10, 2012




       Mr. Hill continued in physical therapy and in the care of Dr. Gurtler. He was
reexamined by Dr. Gurtler on April 15, 2008. Examination found healing at the left
shoulder operative site with mild residual tenderness. Improved motion was noted
with abduction to 100 degrees and flexion to 120 degrees. Dr. Gurtler discussed
return to work with Mr. Hill. Dr. Gurtler stated that Mr. Hill should not even consider
return to work until four months following his shoulder surgery of February 2008.
Dr. Gurtler specifically stated that he was concerned regarding Mr. Hill's potential for
re-tear of the rotator cuff with increased activities. Additional physical therapy was
prescribed.

       Mr. Hill continued in his course of physical therapy. Physical therapy notes
from the Carle Clinic reflect follow-up visits on a regular basis. On May 15, 2008,
Mr. Hill's therapist again noted that there had been a large tear of the supraspinatus
with poor quality tissue according to Dr. Gurtler's notes.

       Return visits to the physical therapist continued with visits on May 19, May
22, and May 27, 2008. On May 27, 2008, Mr. Hill was also reexamined by Dr.
Gurtler who found residual left shoulder stiffness and discomfort as well as left
shoulder tenderness and weakness. Dr. Gurtler prescribed continued physical
therapy. He noted that Mr. Hill wanted "to get back to work," but stated his medical
opinion that release for return to his customary occupation "could take time."

       Mr. Hill continued in physical therapy. On June 24, 2008, he returned to Dr.
Gurtler who noted additional improvement but again stated that he and Mr. Hill were
"going to have to take our time" with rehabilitation as Mr. Hill's work was "very
heavy."

       Further physical therapy was carried out through July 2008. Mr. Hill was
found to be doing well by his physical therapist on July 11, July 14, and July 16,
2008, with occasional pain and some left arm tingling.
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Page Four                          RE: David Hill                           July 10,2012



         In July 2008, Mr. Hill states that his therapist recommended that he increase
weightlifting in physical therapy activities. Mr. Hill describes his therapist as
directing him to lift a crate filled with weights. Mr. Hill states that he informed his
therapist that it was difficult for him to lift the crate and that he told his physical
therapist that the crate was "too heavy." In spite of this report, Mr. Hill states that he
was directed by his therapist to lift the crate onto a shelf. Mr. Hill carried out this
activity as instructed but experienced increased left shoulder pain. Mr. Hill was
directed by this therapist to repeat this lift/reach. Mr. Hill states that he felt a "pop" in
his left shoulder as he lifted the heavy crate and reached out to place it on the shelf.
Mr. Hill states that he reported these symptoms to his physical therapist. He states
that the therapist then stopped the lifting/reaching exercise, "taped" his shoulder and
performed more passive therapies.

       On July 22, 2008, Mr. Hill's physical therapy records reflect a complaint of
increased left shoulder pain in the past week. His therapist recorded that Mr. Hill was
"just not able to tolerate progression" and that this was frustrating to Mr. Hill.

       Mr. Hill states that he continued to experience significant left shoulder pain.
On July 25, 2008, he reported shoulder pain at a level of 5-6/ 10. Continued pain was
also reported to his therapist on July 29, 2008, with tingling in his left arm made
worse by exertion.

       Mr. Hill was reexamined by Dr. Gurtler on July 31, 2008. Dr. Gurtler
obtained the history that " something went" in Mr. Hill's left shoulder with lifting in
physical therapy and that Mr. Hill had experienced left shoulder pain since the event.
Following examination, Dr. Gurtler prescribed a left shoulder arthrogram.

       The left shoulder arthrogram was performed on August 4, 2008. This test was
interpreted as showing a recurrent, full thickness rotator cuff tear.

        Dr. Gurtler reexamined Mr. Hill and reviewed the arthrogram on August 19,
2008. Dr. Gurtler diagnosed a "re-tear" of the rotator cuff and recommended repeat
left shoulder surgery.

        On August 29, 2008, Mr. Hill underwent surgery to his left shoulder
performed by Dr. Gurtler at the Carle SurgiCenter. At operation, Dr. Gurtler
observed a new tear of the rotator cuff just medial to the old repair. He described the
prior operative attachment of the rotator cuff to bone as intact. Dr. Gurtler performed
repair of the new rotator cuff tear. Sterile dressings were applied to Mr. Hill's left
shoulder and he was given medication for pain. His left arm was again immobilized.
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       On September 9, 2008, Dr. Gurtler discussed the operative findings with Mr.
Hill. He noted that Mr. Hill's rotator cuff had torn in an area adjacent to the initial
tear. At this visit, Mr. Hill reported decreased left shoulder pain. Dr. Gurtler
specifically stated that Mr. Hill's rehabilitation was "going to go slow this time."
Concern was expressed that Mr. Hill needed to return to work by December 20, 2008
to preserve his job. Dr. Gurtler advised limited activity for one month to allow
healing followed by initiation of range of motion exercises.

        Physical therapy was resumed at a different physical therapy center (Central
Illinois Physical Therapy) on October 7, 2008. The physical therapist assessed Mr.
Hill's left shoulder and noted Dr. Gurtler's instructions that no weightlifting or
strengthening exercises were to be initiated until four months following surgery.

        Mr. Hill carried out physical therapy, largely with passive stretching exercises.
He states that these movements in therapy caused pain in his left shoulder. Mr. Hill
reported his left shoulder symptoms to Dr. Gurtler on November 18, 2008. Dr.
Gurtler's examination on that date found residual left shoulder stiffness (elevation to
90 to I 00 degrees). Dr. Gurtler then discontinued physical therapy and prescribed left
shoulder rest, home passive exercises as tolerated, continued use of the left shoulder
immobilizer and medication. With regard to work, Dr. Gurtler stated his opinion that
Mr. Hill would likely require permanent restriction limiting weightlifting and
overhead use of the left arm . Dr. Gurtler also noted that, with these restrictions, Mr.
Hill would probably be unable to return to his prior job at R.R. Donnelly.

       With rest and limited left shoulder activities, Mr. Hill reported decreased left
shoulder pain to Dr. Gurtler on December 16, 2008. Following reexamination on that
date, Dr. Gurtler prescribed continued home exercises and therapy activities.

       On February 6, 2009, Mr. Hill returned to Dr. Gurtler and reported additional
improvement in his left shoulder symptoms. On that date, Dr. Gurtler summarized
Mr. Hill's clinical course stating that his "original repair was apparently re-torn in
physical therapy." Dr. Gurtler advised continued active assisted range of motion
exercises for an additional month with limited, light strengthening activities.

       Mr. Hill states that he continued to experience pain in his left shoulder with
any exertion. He states that his left shoulder would swell on occasion and that the left
shoulder pain would sometimes radiate to the elbow region.
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       On March 6, 2009, Dr. Gurtler's examination found improved range of motion
of Mr. Hill's left shoulder, although movement was associated with shoulder pain.
Dr. Gurtler advised continued anti-inflammatory and analgesic medication and home
passive range of motion exercises (using a pulley) as well as left shoulder rest and ice
application.

        On April 16, 2009, Mr. Hill returned to Dr. Gurtler. He stated that his left
shoulder pain had decreased. Examination found residual left shoulder weakness and
stiffness. Dr. Gurtler stated that Mr. Hill had now "probably" reached maximum
medical improvement. He recommended home strengthening exercises for Mr. Hill's
left arm (biceps and triceps) and discussed rotator cuff strengthening but advised Mr.
Hill to limit rotator cuff stress by " keeping the weight low" (1 to 5 pounds). Dr.
Gurtler specifically advised Mr. Hill to limit any heavy rotator cuff lifting. Mr. Hill
was given a permanent work restriction: 10-pound lifting limitation below shoulder
height and avoidance of any overhead or repetitive lifting. Mr. Hill states that he was
told by Dr. Gurtler to follow-up on an as needed basis and to "be careful with his left
shoulder."

       At present, Mr. Hill states that he is no longer followed by specialist
physicians for his left shoulder. As noted above, he has been told to return to Dr.
Gurtler on an as needed basis. He states that he takes no medication and performs no
specific treatments or therapies for his left shoulder.


PAST MEDICAL HISTORY:

         As noted above, Mr. Hill states that he has a past medical history of left
shoulder discomfort. He states that, years earlier, he slipped and fell, grabbing with
his left arm to break his fall and stretching his left shoulder. He states that this
accident "jerked" his left shoulder and caused the onset of shoulder pain. He states
that he was treated at that time and experienced left shoulder symptom improvement,
although he experienced some ongoing left shoulder discomfort that became
increasingly severe in 2007, as described above.

       Mr. Hill states that he has a past medical history of neck injury and underwent
surgery for splenectomy.
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       Mr. Hill also has a history of cardiovascular disease and depression for which
he continues to be treated medically.

       Prior to Mr. Hill's left shoulder symptoms of2007 and the surgeries described
above, he enjoyed recreational activities including bow hunting and automobile
maintenance. He stated that he now limits these recreational activities following left
shoulder surgery and reinjury with later surgery.


CURRENT COMPLAINTS:

        At the time of this examination, Mr. Hill complained of postoperative scarring
of his left shoulder. He complained of left shoulder stiffness and weakness. He
stated that his left shoulder pain was made worse by lifting or reaching with his left
arm extended. He complained of occasional tingling in his left shoulder and upper
arm.


EXAMINATION:

        On examination today, Mr. Hill was a well-developed, well-nourished male.
He appeared to be his stated age of 56-years. He was alert, oriented and cooperative
in the examination.

       He was 6' 2" tall and weighed 310 pounds (he stated that he had gained more
than 20 pounds following the left shoulder surgeries and complications described
above).

       He stated that he was right-handed.

       Examination of Mr. Hill's shoulders revealed a 3-inch compound,
hypopigmented, well-healed scar of the superior and lateral border of the left
shoulder. The scar was not tender to palpation.

      There was tenderness over the left shoulder anterior glenohumeral and
acromioclavicular joints. There was no tenderness of the right shoulder.
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        Range ofmotion ofthe shoulders: Abduction 180 degrees on the right, 135
degrees on the left, normal being 180 degrees; forward elevation 180 degrees on the
right, 160 degrees on the left, normal being 180 degrees; external rotation 40 degrees
on the right, 35 degrees on the left, normal being 40 degrees; internal rotation 40
degrees on the right, 35 degrees on the left, normal being 40 degrees.

        Mr. Hill complained of anterior and lateral left shoulder pain with movement
of his left shoulder beyond 90 degrees of abduction and elevation.

        There was moderate left shoulder subacromial crepitus. There was no crepitus
of the right shoulder.

         Mr. Hill 's left shoulder impingement sign was positive; the right shoulder
impingement sign was negative.

       Mr. Hill was able to reach behind his back with his right arm and touch his
outstretched thumb to the lower lumbar region; with his right thumb, he was able to
touch the mid thoracic region.

       Measurement of the circumference of the biceps at 4 inches above the
olecranon: 14 inches on the right, 13 inches on the left.

        Muscle strength about the shoulder girdle: Resisted forward elevation 5/5 on
the right, 4/5 on the left; resisted backward elevation 5/5 on the right, 5/5 on the left;
isolated supraspinatus strength 5/5 on the right, 4/5 on the left.

       Left shoulder strength testing was associated with anterolateral left shoulder
pain complaints.

         Sensation of the upper extremities was grossly intact and symmetrical to light
touch.

       Both upper extremities were wann to touch. There was no abnormal
coloration or sweating of the upper extremities.

     Peripheral pulses of the upper extremities were grossly intact and bilaterally
symmetrical. Venous return of the upper extremities was intact bilaterally.

         The Adson's signs were negative bilaterally.
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CASE SUMMARY:

       Mr. Hill developed a large left shoulder rotator cuff tear as diagnosed by Dr.
Gurtler in December, 2007. He underwent left shoulder rotator cuff repair surgery
performed by Dr. Gurtler on February I 5, 2008. Rehabilitation therapy was then
begun. Dr. Gurtler specifically expressed concern that therapy proceed slowly due to
the moderately poor quality of Mr. Hill's rotator cuff tissue (see operative report and
note of February 28, 2008).

        Mr. Hill's physical therapy initially was carried out as prescribed by Dr.
Gurtler and he reported left shoulder symptom improvement. However, the records
ofDr. Gurtler's examinations of Mr. Hill in May and June of2008 noted continued
complaints of left shoulder pain and stiffness. On June 24, 2008, Dr. Gurtler again
stated that patience and slow progression in therapy was required due to his concerns
about the quality of Mr. Hill's rotator cuff tissue and, by association, the stability of
the repair.

        In July, 2008, Mr. Hill's therapy was advanced to active lifting and reaching to
place weighted boxes on shelves. Mr. Hill expressed concern to his therapist that the
boxes were "too heavy" and that he was having difficulty in this exercise. While
performing this directed activity, Mr. Hill's left rotator cuff broke down andre-tore.
He reported recurrent, increased left shoulder pain to his therapist and was treated
with passive modalities. Mr. Hill's recurrent left shoulder symptoms persisted. A
repeat left shoulder arthrogram was then performed showed a recurrent rotator cuff
tear. Repeat left shoulder surgery was performed by Dr. Gurtler on August 29, 2008,
with finding of a re-tear of the rotator cuff medial to the prior repair site.

        Foilowing the repeat rotator cuff repair surgery, additional physical therapy
was carried out at a different physical therapy center. Dr. Gurtler again specifically
stated the need for slow progression in physical therapy, now limiting any
weightlifting or strengthening until four months following the surgery. With
resumption of physical therapy, Mr. Hill reported increasing shoulder pain, causing
therapy to be discontinued by Dr. Gurtler on November 18, 2008. Mr. Hill was stated
to be at maximum medical improvement by Dr. Gurtler on April 16, 2009. He was
returned to work at that time with permanent restriction, lifting 10 pounds or less and
avoidance of left arm overhead or repetitive lifting.
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        Examination today found postoperative scarring of Mr. Hill's left shoulder.
There was associated tenderness at the left shoulder acromioclavicular and anterior
glenohumeral joints. There was associated decreased range ofmotion ofMr. Hill's
left shoulder in abduction, forward elevation, external and internal rotation with
crepitus and subacromial impingement symptoms. There was associated atrophy of
Mr. Hill's left upper arm and weakness of his left shoulder girdle musculature.


CONCLUSION:

        Based on the findings of this examination, it is my opinion that Mr. Hill
experienced symptoms and clinical findings consistent with a rotator cuff tear in
2007, for which he underwent appropriate medical and surgical treatment, including
the left rotator cuff repair surgery performed by Dr. Gurtler on February 15, 2008. As
noted above, Dr. Gurtler specifically expressed concern due to the quality of Mr.
Hill's left shoulder rotator cuff"tissue," cautioning that slow and controlled
progression was required in physical therapy to prevent recurrent rotator cuff tearing.
Unfortunately, with lifting and reaching weighted boxes in physical therapy in July,
2008, Mr. Hill suffered a recurrent rotator cuff tear. Repeat left shoulder rotator cuff
repair surgery was required and was performed by Dr. Gurtler on August 29, 2008.
Mr. Hill underwent additional post-operative physical therapy but was unable to
regain left shoulder functioning beyond the "sedentary" physical demand level and
has been unable to return to his prior occupation or customary daily life activities.

       Based on the history obtained from Mr. Hill, treatment medical records
reviewed and my examination of Mr. Hill on July 10, 2012, it is my opinion that he
likely would have recovered fully from his initial left shoulder rotator cuff repair
surgery but for the subsequent recurrent rotator cuff tear that occurred due to the
excessive force required in lifting and reaching in physical therapy activities in July
2008, as directed by his physical therapist, Mr. Mark Masse. This opinion is stated to
a reasonable degree of medical certainty.

        In my opinion, based on current examination findings, Mr. Hill requires
permanent work restriction due to the condition of ill-being of his left shoulder.
Appropriate work restriction would include a limitation in use of his left arm above
shoulder height, limitation in repetitive lifting below shoulder height, reaching,
pulling or pushing and a limitation in left arm lifting to 10 pounds or less. This
restriction is permanent and would limit Mr. Hill 's ability to engage in vocational
activities as well as activities of a daily life.
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                   If I may be of further assistance in this case, please feel free to contact me.


                                                                Sincerely,


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                                                                Jeffrey E. Coe, M.D., Ph.D.
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